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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:05CR252
                                              )
JAIME GUITRON,                                )          SCHEDULING ORDER
                                              )
                    Defendant.                )




       Before the Court is the defendant’s Motion for Pretrial Release [48]. Pretrial
Services is ordered to investigate the release plan of the defendant and provide a
report to the Court and counsel on or before October 30, 2005.

      IT IS SO ORDERED.

      DATED this 23rd day of September, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
